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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X    Case No. 17-cv-06057
KEVIN HERNANDEZ, on behalf of himself
individually and all others similarly situated,

                                                     Plaintiff,

                                                                               CLASS ACTION
                          -against-                                             COMPLAINT



MERCANTILE ADJUSTMENT BUREAU, LLC,

                                                      Defendant.
------------------------------------------------------------------------X

                 Plaintiff, by and through his attorneys, FAGENSON & PUGLISI, PLLC,

upon knowledge as to himself and his own acts, and as to all other matters upon

information and belief, brings this complaint against above-named defendant and in

support thereof alleges the following:

                                              INTRODUCTION

                1.       This is an action for damages brought by an individual consumer

and on behalf of a class for defendant’s violations of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq. which prohibits debt collectors from engaging

in abusive, deceptive and unfair acts and practices.

                2.        This action is also brought pursuant to New York General

Business Law (“NYGBL”) § 349 for an injunction and damages regarding defendant’s

deceptive acts and practices.
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                                   JURISDICTION AND VENUE

                3.     This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) (FDCPA)

 and 28 U.S.C. § 1331 and supplemental jurisdiction exists over the NYGBL § 349 claims

 pursuant to 28 U.S.C. § 1367.

               4.      This Court has venue pursuant to 28 U.S.C. § 1391(b) in that plaintiff

 resides in this District and a substantial portion of the events or omissions giving rise to

 this action occurred in this District.



                                             PARTIES

               5.      Plaintiff is a natural person who resides in this District.

               6.      Plaintiff is a consumer within the meaning of 15 U.S.C. § 1692a(3)

as he is a natural person who is alleged by defendant to owe a financial obligation.

                7.     The financial obligation which defendant sought to collect from

plaintiff is a debt within the meaning of 15 U.S.C. § 1692a(5) in that the obligation which

defendant sought to collect from plaintiff was originally incurred, if at all, for personal, family

or household purposes and concerned an allegedly defaulted student loan.

                8.     Plaintiff is a reasonable consumer within the meaning of NYGBL §

349 who acted reasonably under the circumstances alleged herein.

               9.      Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6).

               10.     The principal purpose of defendant’s business is the collection of

defaulted consumer debts.
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                11.    Defendant uses the mails and the telephone in its business the

principal purpose of which is the collection of defaulted consumer debts.

                12.    Defendant regularly collects or attempts to collect defaulted

consumer debts owed or due or alleged to be owed or due to others.

                13.    Upon information and belief, defendant is a domestic limited liability

company.



                                    FACTUAL ALLEGATIONS

                14.    Plaintiff re-alleges paragraphs 1-13 as if fully re-stated herein.

                15.    Plaintiff is alleged to owe a student loan debt incurred for personal

purposes to Suffolk County Community College.

                16.    At some subsequent point in time the debt is alleged to have fallen

into default.

                17.    By letter dated December 6, 2016, defendant wrote to plaintiff in an

attempt to collect said defaulted student loan debt.

                18.    In the caption of the letter, defendant stated that the debt balance was

$2,977.20.

                19.    The amount of $2,977.20 is also stated by defendant to be the amount

owed elsewhere in the letter.

                20.    Defendant’s collection costs were included in the balance of the debt

stated in defendant’s said collection letter to plaintiff.

                21.    Defendant did not disclose that its collection costs were included in

the balance of the debt stated in its collection letter dated December 6, 2016.
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               22.     Plaintiff did not know that the balance of $2,977.20 stated in

defendant’s said letter included collection costs.

               23.     Further, defendant did not disclose in its collection letter to plaintiff

dated December 6, 2016 the amount of the debt balance which was attributable to its

collection costs.

               24.     At the time defendant sent the letter to plaintiff, defendant claimed

collection costs in excess of $400 concerning plaintiff’s account.

               25.     At the time defendant sent the letter to plaintiff, an amount in excess

of $400 had been added to plaintiff’s debt balance for collection costs.

               26.     Plaintiff later discovered that, in December 2016, defendant claimed

collection costs in excess of $400 concerning his account.

               27.     Undisclosed to plaintiff by defendant in its letter to plaintiff dated

December 6, 2016, defendant had added its collection costs to the balance of his debt.

               28.     Undisclosed to plaintiff by defendant in its letter to plaintiff dated

December 6, 2016, defendant’s collection costs had been added to the balance of his debt.

               29.     Undisclosed to plaintiff by defendant in its letter to plaintiff dated

December 6, 2016, was the amount of the collection costs which had been added to the

balance of his debt.

               30.     Plaintiff felt confusion, annoyance and surprise upon learning that

defendant had failed to disclose that collection costs had been included in the amount

defendant demanded that he pay in its letter to him dated December 6, 2016, and that

defendant had also failed to disclose therein the amount of the collection costs.
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                       AS AND FOR A FIRST CAUSE OF ACTION

                      FDCPA, §§ 1692e(2)(A),1692e(10) and 1692f

               31.   Plaintiff re-alleges paragraphs 1-30 as if fully re-stated herein.

               32.   In its collection letter dated December 6, 2016 defendant

demanded payment of the amount of $2,977.20.

               33.   The amount of $2,977.20 included defendant’s collection costs.

               34.   The amount of $2,977.20 included collection costs.

               35.   Defendant did not disclose to plaintiff in the said collection letter that

the amount of $2,977.20 included defendant’s collection costs.

               36.   Defendant did not disclose to plaintiff in the said collection letter that

the amount of $2,977.20 included collection costs.

               37.   Defendant’s addition of collection costs into the debt balance stated

in said letter without disclosing to plaintiff that the balance included collection costs and,

further, without disclosing the amount of such collection costs, is a violation of the FDCPA,

§§ 1692e(2)(A) and 1692e(10), as a false representation of the amount of the debt and a

false representation and deceptive means used by defendant in its attempt to collect the

debt.

               38.   Defendant’s addition of collection costs into the debt balance stated

in said letter without disclosing to plaintiff that the balance included collection costs and,

further, without disclosing the amount of such collection costs, is also a violation of the

FDCPA, § 1692f as an unfair and unconscionable means used by defendant to attempt to

collect the debt.
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               39.    Defendant’s failure to disclose in said letter that collection costs were

included in the debt balance and the amount of said collection costs constitutes a violation

of the FDCPA, §§ 1692e(2)(A) and 1692e(10), as a false representation of the amount of

the debt and a false representation and deceptive means used by defendant in its attempt

to collect the debt, and further constitutes a violation of the FDCPA, § 1692f as an unfair

and unconscionable means used by defendant to attempt to collect the debt.


                       AS AND FOR A SECOND CAUSE OF ACTION

                                         NYGBL § 349

              40.     Plaintiff re-alleges paragraphs 1-39 as if fully re-stated

 herein.

               41.    Each of the deceptive and misleading acts and practices above–

mentioned was committed by defendant in the conduct of a business, trade or commerce or

the furnishing of a service within the State of New York and constitutes a violation of

NYGBL § 349.

               42.    Defendant’s deceptive and misleading acts and practices were

consumer-oriented, in that defendant is a collector of consumer debts incurred principally or

wholly by natural persons.

               43.    Defendant contacts thousands of consumers within the State of New

York each year by mail.
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               44.    Defendant’s collection letter dated December 6, 2016 is typical of the

letters defendant mailed to consumers within the State of New York concerning defaulted

Suffolk County Community College student loan accounts, at all times relevant herein.

              45.     Defendant’s letter is derived from a letter form used by defendant.

              46.     Defendant’s letter is derived from a letter template used by

 defendant.


               47.    At all times relevant herein, defendant had a pattern of mailing

collection letters to hundreds of consumers within the State of New York each year which

improperly included an undisclosed collection fee for defaulted Suffolk County Community

College student loan accounts.

              48.     Plaintiff is a reasonable consumer within the meaning of the

 NYGBL.
              49.     Plaintiff felt confusion, annoyance and surprise upon learning that

defendant had failed to disclose that collection costs had been included in the amount

defendant demanded that he pay in its letter to him dated December 6, 2016, and that

defendant had also failed to disclose therein the amount of the collection costs.

               50.    Defendant violated NYGBL § 349(a) and is liable to plaintiff under

NYGBL § 349(h).
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                                     CLASS ALLEGATIONS

               51.     Plaintiff re-alleges paragraphs 1-50 as if fully re-stated herein.

               52.     This action is brought on behalf of plaintiff and the members of

a class. The class consists of all persons who defendant’s records reflect were sent debt

collection letters within the State of New York within the period of time commencing one

year before the filing of this complaint up to and including the date of the filing of the

complaint and who were sent a collection letter (a) in substantially the same form as the

letter dated December 6, 2016 which defendant sent to plaintiff, attached as Exhibit 1; (b)

the collection letter was sent to a consumer seeking payment of a Suffolk County

Community College student loan debt; (c) the collection letter was not returned by the

postal service as undeliverable; and (d) the letter contained violations of 15 U.S.C. §§

1692e(2)(A), 1692e(10) and 1692f. The class does not include defendant or persons who

are officers, directors, employees or representatives of defendant.

              53.      The class shall be defined as follows:

        All natural persons with addresses within the State of New York to whom defendant

        sent a collection letter concerning a consumer debt owed to Suffolk County

        Community College, which collection letter contains a demand for payment of an

        amount which includes collection costs but which letter does not disclose that

        collection costs are included in the amount demanded, from one year before the

        filing of this complaint to the date of the filing of this complaint inclusive, and which

        letter was not returned by the postal service as undeliverable.
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              54.    Pursuant to Federal Rule of Civil Procedure 23, a class action is

appropriate and preferable in this case because:

              (A)    Based on the fact that the collection letter that is the gravamen of this

                     litigation is a mass-mailed form letter, the class is so numerous that

                     joinder of all members is impracticable. Upon information and belief,

                     thousands of persons have received similar debt collection letters from

                     defendant which violate the various provisions of the FDCPA.

              (B)    There are questions of law and fact common to the class and these

                     questions predominate over any questions affecting only individual

                     class members. The principal question presented by this claim is

                     whether defendant violated the FDCPA by failing to disclose in its

                     collection letters that collection costs had been added to the balance

                     of the debt, in violation of the FDCPA, §§ 1692e(2)(A), 1692e(10) and

                     1692f.

              (C)    The only individual issue is the identification of the consumers who

                     received the letters (the class members), a matter capable of

                     ministerial determination from the records of defendant.

              (D)    The claims of plaintiff are typical of those of the class members. All

                     are based on the same facts and legal theories.

              (E)    Plaintiff will fairly and adequately represent the class members’

                     interests. Plaintiff has retained experienced counsel. Plaintiff’s

                     interests are consistent with those of the members of the class.
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               55.    A class action is superior for the fair and efficient adjudication of the

class members’ claims. Congress specifically envisions class actions as a principal means

of enforcing the FDCPA in 15 U.S.C. § 1692k. The members of the class are generally

unsophisticated individuals, whose rights will not be vindicated in the absence of a class

action. Prosecution of separate actions by individual members of the class would create the

risk of inconsistent or varying adjudications resulting in the establishment of inconsistent or

varying standards for the parties and would not be in the interest of judicial economy.

               56.    If the facts are discovered to be appropriate, plaintiff will seek

to certify a class action pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.

               57.    Communications from debt collectors, such as those sent by

defendant, are to be evaluated by the objective standard of the hypothetical “least

sophisticated consumer”.

               58.     As a result of the above violations, defendant is liable to

plaintiff and the members of the class for an injunction and damages in an amount to be

determined at the time of trial, plus costs and attorneys’ fees.

               WHEREFORE, plaintiff respectfully prays that judgment be entered against

 defendant as follows:

               (a)    certifying a class action pursuant to Rule 23(b)(3) of the Federal Rules

                      of Civil Procedure;

               (b)    awarding maximum statutory damages to the class pursuant to 15

                      U.S.C. § 1692k;

               (c)    awarding maximum statutory damages to plaintiff pursuant to 15

                      U.S.C. § 1692k;
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           (d)   awarding actual damages to the class pursuant to 15 U.S.C. § 1692k

                 in an amount to be determined at the time of trial;

           (e)   awarding actual damages to plaintiff pursuant to 15 U.S.C. § 1692k in

                 an amount to be determined at the time of trial;

           (f)   awarding reasonable attorneys’ fees, costs and disbursements

                 pursuant to 15 U.S.C. § 1692k;

           (g)   enjoining defendant from committing further deceptive acts and

                 practices pursuant to NYGBL § 349;

           (h)   awarding statutory damages pursuant to NYGBL § 349 in an amount

                 to be determined at the time of trial;

           (i)   in the alternative, awarding actual damages pursuant to

                 NYGBL § 349 in an amount to be determined at the time of trial;

           (j)   awarding reasonable attorneys’ fees, costs and disbursements

                 pursuant to NYGBL § 349; and

           (k)   for such other and further relief as may be just and proper.
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                            DEMAND FOR TRIAL BY JURY

            Plaintiff requests trial by jury on all issues so triable.

Dated: New York, New York
       October 17, 2017.


                                                  /s/ Novlette R. Kidd
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